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                            UNITED STATES DISTRICT COURT                                   JS-6
                            CENTRAL DISTRICT OF CALIFORNIA
                               CIVIL MINUTES - GENERAL

  Case No.    CV 21-3333-DMG (GJSx)                                     Date   October 19, 2021

  Title Yong Koo v. Kevin W. Peters, et al.


  Present: The Honorable      DOLLY M. GEE, UNITED STATES DISTRICT JUDGE

                Kane Tien                                                Not Reported
               Deputy Clerk                                              Court Reporter

     Attorneys Present for Plaintiff(s)                        Attorneys Present for Defendant(s)
               Not Present                                                Not Present

 Proceedings: IN CHAMBERS - ORDER DISMISSING ACTION

        In light of Plaintiff's Notice of Voluntary Dismissal filed on October 19, 2021 [Doc. # 23],
 the Court hereby DISMISSES this action with prejudice pursuant to Fed. R. Civ. P. 41(a)(1). The
 Order to Show Cause dated October 13, 2021 is discharged. [Doc. # 22.]

 IT IS SO ORDERED.




  CV-90                             CIVIL MINUTES - GENERAL                Initials of Deputy Clerk KT
